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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                                    RICHMOND DIVISION



UNITED STATES OF AMERICA



                                                            CASE NO. 3:13CR025-001 (REP)
JOSE JUAN GONZALEZ,
                       Defendant.




         REPORT AND RECOMMENDATION OF THE MAGISTRATE JUDGE

       This matter is before the court pursuant to Title 28 U.S.C. § 636(b)(1)(B) and (b)(3) upon

the Defendant's request to enter a plea of guilty pursuant to Fed. R. Crim. P. 11 and a written

plea agreement that has been entered into by the United States and the Defendant. The matter

was presented to the court upon the written consent of the Defendant and counsel for the

Defendant to proceed before a United States Magistrate Judge, said consent including the

Defendant's understanding that he consented to not only having the Magistrate Judge conduct the

hearing and enter any order of forfeiture, if applicable, but also to having the Magistrate Judge

make necessary findings and accepting any guilty plea as may be entered that could not be

withdrawn except for fair and just reason.

       The Court accepted the Defendant's waiver of his right to proceed by Superseding

Indictment after specific inquiry was made of the Defendant as to his understanding of the right

to require prosecution by indictment. The Defendant pled guilty to Count Is of the Superseding

Indictment in open court and pursuant to a Rule 11 inquiry. Upon consideration of the responses

and statements made by the Defendant under oath, on the record, and based upon the written plea

agreement and statement of facts presented, the court makes the following findings:
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